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                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE MIDDLE DISTRICT OF LOUISIANA


IN RE:                                                                  CHAPTER 11

FALCON V, L.L.C., et al.,1                                              CASE NO. 19-10547

         DEBTORS.                                                       JOINTLY ADMINISTERED


                REPLY TO UNITED STATES TRUSTEE’S OBJECTION TO
              EMERGENCY MOTION REGARDING CHAPTER 11 FIRST DAY
                  MOTIONS REQUESTING JOINT ADMINISTRATION


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this Reply to the United States Trustee’s Objection to Emergency Motion Regarding Chapter 11

First Day Motions Requesting Joint Administration (the “Objection”) [P-112] and respectfully

represent as follows:

         1.       On May 10, 2019, voluntary petitions for relief pursuant to Chapter 11 of title 11

of the U.S. Code (the “Bankruptcy Code”) were filed on behalf of Falcon V, L.L.C. (“Falcon”),

and ORX Resources, L.L.C. (“ORX”). On May 14, 2019, the Debtors filed Emergency Motions

for Joint Administration of the Falcon [Case No. 19-10547, P-51] and ORX [Case No. 19-10548,

P-5] cases.

         2.       During the first day hearing held on May 14, 2019, counsel for the Debtors

received the consents to file the Falcon V Holdings, LLC (“Holdings”) case. Immediately

following the hearing, a voluntary petition for relief pursuant to Chapter 11 of the Bankruptcy

Code was filed on behalf of Holdings commencing Case No. 19-10561.                                    The Debtors


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         The Debtors are the following three entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): Falcon V, L.L.C. (1725) and ORX Resources, L.L.C. (9032). The address of the
Debtors is 400 Poydras Street, Suite 1100, New Orleans, Louisiana 70130.



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subsequently filed an Amended Motion for Joint Administration of the Falcon [Case No. 19-

10547, P-55], ORX [Case No. 19-10548, P-7] and Holdings [Case No. 19-10561, P-5] cases.

        3.      On May 14, 2019, this Court entered an order approving joint administration of

the Falcon [Case No. 19-10547, P-57], ORX [Case No. 19-10548, P-9] and Holdings [Case No.

19-10561, P-7] cases (collectively, the “Joint Administration Order”). The Joint Administration

Order is a final order and did not set a final hearing.

        4.      On May 22, 2019, the United States Trustee (“UST”) filed the Objection. The

Objection argues that the proposed caption for the jointly administered cases neither conforms

with the local rules nor provides that separate schedules, statements and monthly operating

reports be filed in each case.

        5.      The Objection is improper and should be overruled because (1) the Joint

Administration order is a final order only subject to appeal and (2) including a requirement that

separate schedules, statements and monthly operating reports be filed in each case is unnecessary

because the Debtors are already aware that separate schedules, statements and reports will be

filed in these cases.

        6.      The Joint Administration Order is a final order (not an interim order) and makes

no reference to a final hearing. As such, the Objection is improper and this Court cannot grant

the relief the UST seeks by such objection. If the UST believes the Joint Administration Order

was entered in error or otherwise does not conform with the local rules of this Court, the proper

procedure for the UST is to file an appeal under Federal Rule of Bankruptcy Procedure 8002 or

seek reconsideration. The UST has done neither. Instead, the UST seeks to waste this Court’s

and the Debtors’ time and resources by submitting a procedurally improper objection to a final

order. For this reason alone, the Objection should be overruled.




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       7.      But even if the UST were to have appealed or moved for reconsideration of the

Joint Administration Order, the Objection is baseless. The Joint Administration Order does

conform with Local Rule 1015-1(c), which states that filings in “jointly administered and

substantively consolidated cases shall include the names and docket numbers of all the affected

cases, unless the court orders otherwise.” Here, the Court has ordered otherwise and approved

the proposed caption now being used by the Debtors (and the UST in its filings). The caption

proposed by the Debtors and approved by the Court is a standard form of caption, which has

been approved by other bankruptcy courts within the Fifth Circuit. The UST provides no basis

for suggesting that the caption is improper, other than suggesting that the caption does not

conform with local rules, which is incorrect.

       8.      Additionally, the Debtors have not moved for substantive consolidation of these

bankruptcy cases. As such, the Debtors are well aware that under the bankruptcy rules and

operating guidelines, schedules, statements, and monthly operating reports are to be filed in each

case and the Debtors have made no such request to do otherwise. For this reason, including the

UST’s proposed language in the Joint Administration Order (which at this point is a final order

and cannot be altered) is unnecessary. The Debtors have been and will continue to comply with

the bankruptcy filing requirements for each case.

       WHEREFORE, the Debtors respectfully request that the Objection be overruled.

Dated: May 28, 2019.

                                                Respectfully submitted,

                                                KELLY HART PITRE

                                                /s/ Louis M. Phillips
                                                Louis M. Phillips (#10505)
                                                Patrick (Rick) M. Shelby (#31963)
                                                Amelia L. Bueche (#36817)



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